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 7
                                 UNITED STATES DISTRICT COURT
 8                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 9

10    AMAZON.COM, INC., a Delaware
      corporation; and DUTCH BLITZ                           No.
11    ACQUISITION CORPORATION, a
      Pennsylvania corporation,                              COMPLAINT FOR DAMAGES
12                                                           AND EQUITABLE RELIEF
                                 Plaintiffs,
13
             v.
14
      LIJIAN, an unknown entity, d/b/a EUN
15    ALMONTE; and DOES 1-10,
16                               Defendants.
17

18                                       I.      INTRODUCTION
19           1.      This case involves the Defendants’ unlawful and expressly prohibited sale of
20    card game products on Amazon.com that bear counterfeit trademarks owned by Dutch Blitz
21    Acquisition Corporation (“Dutch Blitz”), a family-owned and family-operated business.
22    Amazon and Dutch Blitz jointly bring this lawsuit to permanently prevent and enjoin
23    Defendants from causing future harm to Amazon’s and Dutch Blitz’s customers, reputations,
24    and intellectual property (“IP”), and to hold Defendants accountable for their illegal actions.
25           2.      The Amazon store offers products and services to customers in more than 100
26    countries around the globe. Some of the products are sold directly by Amazon, while others are
27    sold by Amazon’s numerous third-party selling partners. The Amazon brand is one of the most

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 1    well-recognized, valuable, and trusted brands in the world. In order to protect customers and

 2    safeguard its reputation for trustworthiness, Amazon invests heavily in both time and resources

 3    to prevent counterfeit goods from being sold in its store. In 2019 alone, Amazon invested over

 4    $500 million and employed more than 8,000 employees to protect its store from fraud and

 5    abuse. Amazon stopped over 2.5 million suspected bad actor selling accounts before they

 6    published a single listing for sale and blocked more than six billion suspected bad listings

 7    before they were published. As a result of these efforts and investment, 99.9% of all products

 8    viewed by customers on Amazon did not have a valid counterfeit complaint.

 9           3.      Originally created in the 1960s, the Dutch Blitz card game was the brainchild of

10    Werner Ernst George Muller, a German immigrant and optometrist from Bucks County,

11    Pennsylvania, who thought the game might help his children learn colors and numbers. It is a

12    highly interactive, energetic, and family-friendly card game played with a specially printed

13    deck that tests players’ skills, smarts, and speed.

14           4.      After initially capturing the imaginations of generations of players throughout

15    Eastern and Central Pennsylvania, the Dutch Blitz game has spread far and wide. Now, nearly

16    60 years after the game’s creation, Dutch Blitz fans can be found in every corner of the globe,

17    with the Dutch Blitz game and assorted merchandise available for sale at more than 200

18    different locations in 11 countries, as well as in the Amazon store. In addition to the original

19    Dutch Blitz card game, Dutch Blitz also sells an Expansion Pack of cards that allows the game

20    to be played with up to 8 players. The Dutch Blitz Expansion Pack is sold either separately or

21    together with the original Dutch Blitz card game.

22           5.      Dutch Blitz continues to be a family-owned and family-operated business. Mary

23    and Mike Fisher fell in love with the Dutch Blitz game after spending years helping Franklin

24    Burke, who bought Dutch Blitz from Werner Ernst George Muller, distribute the game.

25    Recognizing the game’s potential, the Fisher family purchased the business from Mr. Burke.

26    Since 2010, Mary and Mike have been focused full-time on manufacturing, advertising, and

27    promoting Dutch Blitz games and related items. The Dutch Blitz website even features a video

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 1    titled “How to Play Dutch Blitz®” in which members of the Fisher family demonstrate for

 2    viewers how the card game works.

 3           6.      Dutch Blitz is the exclusive owner of the IP embodied in Dutch Blitz’s various

 4    trademarks. Relevant to this Complaint, Dutch Blitz owns the following registered trademarks

 5    (“Dutch Blitz Trademarks” or “Trademarks”).

 6
                          Mark                 Registration No. (International Classes)
 7

 8

 9                  DUTCH BLITZ                        Reg. No. 2912513 (IC 028)
10

11

12
                    A VONDERFUL
                                                       Reg. No. 4772211 (IC 028)
13                  GOOT GAME!

14

15    True and correct copies of the registration certificates for the Dutch Blitz Trademarks are
16    attached as Exhibit A.
17           7.      From 2019 through 2020, Defendants advertised, marketed, offered, and sold
18    counterfeit Dutch Blitz products in the Amazon store, using and copying the Dutch Blitz
19    registered Trademarks, without authorization, to deceive customers about the authenticity and
20    origin of the products and the products’ affiliation with Dutch Blitz.
21           8.      As a result of their illegal actions, Defendants have infringed and misused Dutch
22    Blitz’s IP, willfully deceived and harmed Amazon, Dutch Blitz, and their customers,
23    compromised the integrity of the Amazon store, and undermined the trust that customers place
24    in Amazon and Dutch Blitz. Defendants’ illegal actions have caused Amazon and Dutch Blitz
25    to expend significant resources to investigate and combat Defendants’ wrongdoing and to bring
26    this lawsuit to prevent Defendants from inflicting future harm to Amazon, Dutch Blitz, and
27    their customers.
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                                              II.     PARTIES
 1
             9.      Amazon.com, Inc. is a Delaware corporation with its principal place of business
 2
      in Seattle, Washington. Through its subsidiaries, Amazon.com, Inc. owns and operates the
 3
      Amazon.com website, counterpart international websites, and Amazon store (collectively,
 4
      “Amazon”).
 5
             10.     Dutch Blitz is a Pennsylvania corporation with its principal place of business in
 6
      Erdenheim, Pennsylvania.
 7
             11.     Defendants are a collection of individuals and entities, both known and
 8
      unknown, who conspired and operated in concert with each other to engage in the
 9
      counterfeiting scheme alleged in this Complaint. In many cases, Defendants took intentional
10
      and affirmative steps to hide their true identities and whereabouts from Amazon and Dutch
11
      Blitz by using fake names and contact information to conduct their activities. Defendants are
12
      subject to liability for their wrongful conduct both directly and under principles of secondary
13
      liability including, without limitation, respondeat superior, vicarious liability, and/or
14
      contributory infringement.
15
             12.     On information and belief, Defendant Lijian d/b/a Eun Almonte is an unknown
16
      entity that has identified an address in Gilmer, TX as its principal place of business in
17
      connection with its Selling Account. On further information and belief, Defendant Lijian
18
      personally participated in and/or had the right and ability to supervise, direct, and control the
19
      wrongful conduct alleged in this Complaint, and derived a direct financial benefit as a result of
20
      that wrongful conduct.
21
             13.     On information and belief, Defendants Does 1-10 (the “Doe Defendants”) are
22
      individuals and entities working in active concert with each other and the named Defendants to
23
      knowingly and willfully manufacture, import, advertise, market, offer, and sell counterfeit
24
      Dutch Blitz products. The identities of Does 1-10 are presently unknown to Plaintiffs.
25

26
27

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                                  III.    JURISDICTION AND VENUE
 1
             14.     The Court has subject matter jurisdiction over Amazon and Dutch Blitz’s claims
 2
      for 1) trademark infringement; and 2) false designation and false advertising pursuant to 15
 3
      U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a). The Court has subject matter jurisdiction
 4
      over Amazon and Dutch Blitz’s claim for violation of the Washington Consumer Protection
 5
      Act pursuant to 28 U.S.C. §§ 1332 and 1367.
 6
             15.     The Court has personal jurisdiction over all Defendants because they transacted
 7
      business and committed tortious acts within and directed to the State of Washington, and
 8
      Amazon’s and Dutch Blitz’s claims arise from those activities. Defendants affirmatively
 9
      undertook to do business with Amazon, a corporation with its principal place of business in
10
      Washington, and sold through the Amazon store products bearing counterfeit versions of the
11
      Dutch Blitz Trademarks and which otherwise infringed Dutch Blitz’s IP. Defendants shipped
12
      these unlawful products to consumers in Washington. Each of the Defendants committed, or
13
      facilitated the commission of, tortious acts in Washington and has wrongfully caused Amazon
14
      and Dutch Blitz substantial injury in Washington.
15
             16.     Further, the named Defendants have consented to the jurisdiction of this Court
16
      by agreeing to the Amazon Services Business Solutions Agreement (“BSA”), which provides
17
      that the “Governing Courts” for claims to enjoin infringement or misuse of IP rights are state or
18
      federal courts located in King County, Washington.
19
             17.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a
20
      substantial part of the events giving rise to the claims occurred in the Western District of
21
      Washington.
22
             18.     Venue is proper in this Court also with respect to Defendants by virtue of the
23
      allegations stated in paragraph 15 above, which are incorporated herein.
24
             19.     Pursuant to Local Civil Rule 3(d), intra-district assignment to the Seattle
25
      Division is proper because the claims arose in this Division, where (a) Amazon resides, (b)
26
      injuries giving rise to suit occurred, and (c) Defendants directed their unlawful conduct.
27

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                                              IV.     FACTS
 1
             A.      Amazon’s Efforts to Prevent the Sale of Counterfeit Goods
 2
             20.     Amazon works hard to build and protect the reputation of its store as a place
 3
      where customers can conveniently select from a wide array of authentic goods and services at
 4
      competitive prices. Amazon invests a vast amount of resources to ensure that when customers
 5
      make purchases through the Amazon store—either directly from Amazon or from one of its
 6
      millions of third-party sellers—customers receive authentic products made by the true
 7
      manufacturer of those products.
 8
             21.     A small number of bad actors seeks to take advantage of the trust customers
 9
      place in Amazon by attempting to create Amazon Selling Accounts to advertise, market, offer,
10
      and sell counterfeit products. These bad actors seek to misuse and infringe the trademarks and
11
      other IP of the true manufacturers of those products to deceive Amazon and its customers. This
12
      unlawful and expressly prohibited conduct undermines the trust that customers, sellers, and
13
      manufacturers place in Amazon, and tarnishes Amazon’s brand and reputation, thereby causing
14
      irreparable harm to Amazon.
15
             22.     Amazon prohibits the sale of inauthentic and fraudulent products and is
16
      constantly innovating on behalf of customers and working with brands, manufacturers, rights
17
      owners, and others to improve the detection and prevention of counterfeit products ever being
18
      offered to customers through the Amazon store. Amazon employs dedicated teams of software
19
      engineers, research scientists, program managers, and investigators to prevent counterfeits from
20
      being offered in the Amazon store. Amazon’s systems automatically and continuously scan
21
      thousands of data points to detect and remove counterfeits from its store and to terminate the
22
      Selling Accounts of bad actors before they can offer counterfeit products. Each week Amazon
23
      monitors more than 45 million pieces of feedback it receives from customers, rights owners,
24
      regulators, and selling partners. When Amazon identifies issues based on this feedback, it
25
      takes action to address them. Amazon uses this intelligence also to improve its proactive
26
      prevention controls.
27

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 1           23.      In 2017, Amazon launched the Amazon Brand Registry, a free service to any

 2    rights owner with a government-registered trademark, regardless of the brand’s relationship

 3    with Amazon. Brand Registry delivers automated brand protections that use machine learning

 4    to predict infringement and proactively protect brands’ IP. Brand Registry also provides a

 5    powerful Report a Violation Tool that allows brands to search for and accurately report

 6    potentially infringing products using state‐of-the‐art image search technology. More than

 7    350,000 brands, including Dutch Blitz, are enrolled in Brand Registry, and those brands are

 8    finding and reporting 99% fewer suspected infringements since joining Brand Registry.

 9           24.      In 2018, Amazon launched Transparency, a product serialization service that

10    effectively eliminates counterfeits for enrolled products. Brands enrolled in Transparency can

11    apply a unique 2D code to every unit they manufacture, which allows Amazon, other retailers,

12    law enforcement, and customers to determine the authenticity of any Transparency-enabled

13    product, regardless of where the product was purchased. Since Transparency’s launch in 2018,

14    over 10,000 brands have enrolled, protecting brands and customers from counterfeits being sold

15    in the Amazon store.

16           25.      In 2019, Amazon launched Amazon Project Zero, a program to empower brands

17    to help Amazon drive counterfeits to zero. Amazon Project Zero introduced a novel self-

18    service counterfeit removal tool that enables brands to remove counterfeit listings directly from

19    the Amazon store. This enables brands to take down counterfeit product offerings on their own

20    within minutes. Since the program launched in 2019, over 10,000 brands have enrolled.

21           26.      In addition to these measures, Amazon actively cooperates with rights owners

22    and law enforcement to identify and prosecute bad actors suspected of engaging in illegal

23    activity. Lawsuits, like this one, are integral components of Amazon’s efforts to combat

24    counterfeits.

25           B.       Dutch Blitz and Its Anti-Counterfeiting Efforts
26           27.      Dutch Blitz also endeavors to combat counterfeiting. It conducts its own test

27    purchases to verify whether Dutch Blitz products are counterfeit. It also partners with

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 1    companies such as Flat River, which specializes in product sales, warehousing, and

 2    distribution, to identify and root out counterfeit Dutch Blitz-branded products.

 3             28.   In addition, Dutch Blitz also is currently enrolled in Amazon Brand Registry.

 4             C.    Defendants Created an Amazon Selling Account and Agreed Not to Sell
                     Counterfeit Goods
 5
               29.   Defendants controlled and operated the Amazon Selling Account detailed in
 6
      Section D below through which they sought to advertise, market, sell, and distribute counterfeit
 7
      Dutch Blitz products. In connection with this Selling Account, Defendants provided names,
 8
      email addresses, and banking information for the account.
 9
               30.   To become a third-party seller in the Amazon store, sellers are required to agree
10
      to the BSA, which governs the applicant’s access to and use of Amazon’s services and states
11
      Amazon’s rules for selling through the store. By entering into the BSA, each seller represents
12
      and warrants that it “will comply with all applicable laws in [the] performance of [its]
13
      obligations and exercise of [its] rights” under the BSA. A true and correct copy of the
14
      applicable version of the BSA, namely, the version when Defendants last used Amazon’s
15
      Services, is attached as Exhibit B.
16
               31.   The BSA incorporates, and sellers therefore agree to be bound by, Amazon’s
17
      Anti-Counterfeiting Policy, the applicable version of which is attached as Exhibit C. The
18
      Anti-Counterfeiting Policy expressly prohibits the sale of counterfeit goods in the Amazon
19
      store:
20
                        The sale of counterfeit products is strictly prohibited.
21
                        You may not sell any products that are not legal for sale, such as products
22                       that have been illegally replicated, reproduced, or manufactured[.]
23                      You must provide records about the authenticity of your products if Amazon
                         requests that documentation[.]
24
                     Failure to abide by this policy may result in loss of selling privileges, funds
25                   being withheld, destruction of inventory in our fulfilment centers, and other
                     legal consequences.
26
      Id.
27

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 1           32.     Amazon’s Anti-Counterfeiting Policy further describes Amazon’s commitment

 2    to preventing the sale and distribution of counterfeit goods in the Amazon store together with

 3    the consequences of doing so:

 4                      Sell Only Authentic and Legal Products. It is your
                         responsibility to source, sell, and fulfill only authentic
 5                       products that are legal for sale. Examples of prohibited
                         products include:
 6
                         o Bootlegs, fakes, or pirated copies of products or content
 7
                         o Products that have been illegally replicated, reproduced,
 8                         or manufactured
 9                       o Products that infringe another party’s intellectual property
                           rights
10
                        Maintain and Provide Inventory Records. Amazon may
11                       request that you provide documentation (such as invoices)
                         showing the authenticity of your products or your
12                       authorization to list them for sale. You may remove pricing
                         information from these documents, but providing documents
13                       that have been edited in any other way or that are misleading
                         is a violation of this policy and will lead to enforcement
14                       against your account.
15                      Consequences of Selling Inauthentic Products. If you sell
                         inauthentic products, we may immediately suspend or
16                       terminate your Amazon selling account (and any related
                         accounts), destroy any inauthentic products in our fulfillment
17                       centers at your expense, and/or withhold payments to you.
18                      Amazon Takes Action to Protect Customers and Rights
                         Owners. Amazon also works with manufacturers, rights
19                       holders, content owners, vendors, and sellers to improve the
                         ways we detect and prevent inauthentic products from
20                       reaching our customers. As a result of our detection and
                         enforcement activities, Amazon may:
21
                         o Remove suspect listings.
22
                         o Take legal action against parties who knowingly violate
23                         this policy and harm our customers. In addition to
                           criminal fines and imprisonment, sellers and suppliers of
24                         inauthentic products may face civil penalties including the
                           loss of any amounts received from the sale of inauthentic
25                         products, the damage or harm sustained by the rights
                           holders, statutory and other damages, and attorney’s fees.
26
                        Reporting Inauthentic Products. We stand behind the products
27                       sold on our site with our A-to-z Guarantee, and we encourage

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                         rights owners who have product authenticity concerns to
 1                       notify us. We will promptly investigate and take all
                         appropriate actions to protect customers, sellers, and rights
 2                       holders. You may view counterfeit complaints on the
                         Account Health page in Seller Central.
 3
      Id.
 4
             33.     When they registered as a third-party seller in the Amazon store, and established
 5
      their Selling Account, Defendants agreed not to advertise, market, offer, sell or distribute
 6
      counterfeit products.
 7
             D.      Test Purchase from Defendants’ Lijian and Eun Almonte Selling Account
 8
             34.     Defendants advertised, marketed, offered, and sold Dutch Blitz-branded
 9
      products in the Amazon store. Dutch Blitz has conducted a test purchase from the Defendants’
10
      Selling Account and determined that the products are counterfeit and bear counterfeit Dutch
11
      Blitz registered Trademarks.
12
             35.     At all times described herein, Selling Account Eun Almonte was controlled and
13
      operated by Defendant Lijian and, on information and belief, other parties, known and
14
      unknown.
15
             36.     In July 2019, Dutch Blitz conducted a test purchase from Selling Account Eun
16
      Almonte for a product advertised as a Dutch Blitz-branded card game. Defendants shipped to
17
      Dutch Blitz a product that bore the Dutch Blitz Card Trademarks and other indications of its
18
      brand. Dutch Blitz has examined the product and determined that it is counterfeit.
19
             E.      Amazon and Dutch Blitz Shut Down Defendants’ Account
20
             37.     By selling counterfeit Dutch Blitz products, Defendants falsely represented to
21
      Amazon and its customers that the products Defendants sold were genuine products made by
22
      Dutch Blitz. Defendants also knowingly and willfully used Dutch Blitz’s IP in connection with
23
      the advertisement, marketing, distribution, offering for sale, and sale of counterfeit Dutch Blitz
24
      products without Dutch Blitz’s permission, consent or authorization.
25
             38.     At all times, Defendants knew they were prohibited from violating third-party IP
26
      rights or any applicable laws while selling products in the Amazon store. Defendants have
27

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 1    deceived Amazon’s customers and Amazon, infringed and misused the IP rights of Dutch Blitz,

 2    harmed the integrity of and customer trust in the Amazon store, and tarnished Amazon’s and

 3    Dutch Blitz’s brands.

 4           39.     Amazon, after receiving notice from Dutch Blitz, verified Defendants’ unlawful

 5    sale of counterfeit Dutch Blitz products and promptly blocked Defendants’ Selling Account. In

 6    doing so, Amazon exercised its rights under the BSA to protect customers and the reputations

 7    of Amazon and Dutch Blitz.

 8                                             V.     CLAIMS
 9                                           FIRST CLAIM
                                  (by Dutch Blitz against all Defendants)
10                             Trademark Infringement – 15 U.S.C. § 1114
11           40.     Plaintiff Dutch Blitz incorporates by reference the allegations of the preceding

12    paragraphs as though set forth herein.

13           41.     Defendants’ activities constitute infringement of the Dutch Blitz Trademarks as

14    described in the paragraphs above.

15           42.     Dutch Blitz advertises, markets, offers, and sells its products using the Dutch

16    Blitz Trademarks described above and uses those Trademarks to distinguish its products from

17    the products and related items of others in the same or related fields.

18           43.     Because of Dutch Blitz’s long, continuous, and exclusive use of the Dutch Blitz

19    Trademarks identified in this Complaint, the Trademarks have come to mean, and are

20    understood by customers and the public to signify, products from Dutch Blitz.

21           44.     Defendants unlawfully advertised, marketed, offered, and sold products bearing

22    counterfeit versions of the Dutch Blitz Trademarks with the intent and likelihood of causing

23    customer confusion, mistake, and deception as to the products’ source, origin, and authenticity.

24    Specifically, Defendants intended customers to believe, incorrectly, that the products originated

25    from, were affiliated with, and/or were authorized by Dutch Blitz and likely caused such

26    erroneous customer beliefs.

27

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 1              45.   As a result of Defendants’ wrongful conduct, Dutch Blitz is entitled to recover

 2    its actual damages, Defendants’ profits attributable to the infringement, and treble damages and

 3    attorney fees pursuant to 15 U.S.C. § 1117(a) and (b). Alternatively, Dutch Blitz is entitled to

 4    statutory damages under 15 U.S.C. § 1117(c).

 5              46.   Dutch Blitz is further entitled to injunctive relief, including an order impounding

 6    all infringing products and promotional materials in Defendants’ possession. Dutch Blitz has

 7    no adequate remedy at law for Defendants’ wrongful conduct because, among other things: (a)

 8    the Dutch Blitz Trademarks are unique and valuable property that has no readily determinable

 9    market value; (b) Defendants’ infringement constitutes harm to Dutch Blitz and Dutch Blitz’s

10    reputation and goodwill such that Dutch Blitz could not be made whole by any monetary

11    award; (c) if Defendants’ wrongful conduct is allowed to continue, the public is likely to

12    become further confused, mistaken, or deceived as to the source, origin, or authenticity of the

13    infringing materials; and (d) Defendants’ wrongful conduct, and the resulting harm to Dutch

14    Blitz, is likely to be continuing.

15                                          SECOND CLAIM
                                  (by Dutch Blitz against all Defendants)
16                False Designation of Origin and False Advertising – 15 U.S.C. § 1125(a)
17              47.   Plaintiff Dutch Blitz incorporates by reference the allegations of the preceding

18    paragraphs as though set forth herein.

19              48.   Dutch Blitz owns the Dutch Blitz Trademarks and advertises, markets, offers,

20    and sells its products using the Trademarks described above and uses the Trademarks to

21    distinguish its products from the products and related items of others in the same or related

22    fields.

23              49.   Because of Dutch Blitz’s long, continuous, and exclusive use of the Dutch Blitz

24    Trademarks, they have come to mean, and are understood by customers, end users, and the

25    public, to signify products from Dutch Blitz.

26
27

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 1              50.   Defendants’ wrongful conduct includes the infringement of the Dutch Blitz

 2    Trademarks in connection with Defendants’ commercial advertising or promotion, and offering

 3    for sale and sale, of counterfeit Dutch Blitz products in interstate commerce.

 4              51.   In advertising, marketing, offering, and selling products bearing counterfeit

 5    versions of the Dutch Blitz Trademarks, Defendants have used, and on information and belief

 6    continue to use, the Trademarks referenced above to compete unfairly with Dutch Blitz and to

 7    deceive customers. Upon information and belief, Defendants’ wrongful conduct misleads and

 8    confuses customers and the public as to the origin and authenticity of the goods and services

 9    advertised, marketed, offered, or sold in connection with the Dutch Blitz Trademarks and

10    wrongfully trades upon Dutch Blitz’s goodwill and business reputation.

11              52.   Defendants’ conduct constitutes (a) false designation of origin, (b) false or

12    misleading description, and (c) false or misleading representation that products originate from

13    or are authorized by Dutch Blitz, all in violation of 15 U.S.C. § 1125(a)(1)(A).

14              53.   Defendants’ conduct also constitutes willful false statements in connection with

15    goods and/or services distributed in interstate commerce in violation of 15 U.S.C.

16    § 1125(a)(1)(B).

17              54.   Dutch Blitz is entitled to an injunction against Defendants, their officers,

18    agents, representatives, servants, employees, successors and assigns, and all other persons in

19    active concert or participation with them, as set forth in the Prayer for Relief below.

20    Defendants’ acts have caused irreparable injury to Dutch Blitz. The injury to Dutch Blitz is

21    irreparable, and on information and belief, is continuing. An award of monetary damages

22    cannot fully compensate Dutch Blitz for its injuries, and Dutch Blitz lacks an adequate remedy

23    at law.

24              55.   Dutch Blitz is further entitled to recover Defendants’ profits, Dutch Blitz’s

25    damages for its losses, and Dutch Blitz’s costs to investigate and remediate Defendants’

26    conduct and bring this action, including its attorney’s fees, in an amount to be determined.

27    Dutch Blitz is also entitled to the trebling of any damages award as allowed by law.

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                                           THIRD CLAIM
 1                                (by Amazon against all Defendants)
                False Designation of Origin and False Advertising – 15 U.S.C. § 1125(a)
 2
             56.        Plaintiff Amazon incorporates by reference the allegations of the preceding
 3
      paragraphs as though set forth herein.
 4
             57.        Amazon’s reputation for trustworthiness is at the heart of its relationship with
 5
      customers. Defendants’ actions in selling counterfeits pose a threat to Amazon’s reputation
 6
      because they undermine and jeopardize customer trust in the Amazon store.
 7
             58.        Specifically, Defendants deceived Amazon and its customers about the
 8
      authenticity of the products they were advertising, marketing, offering, and selling, in direct
 9
      and willful violation of the BSA and Amazon’s Anti-Counterfeiting Policies. Defendants’
10
      deceptive acts were material to Amazon’s decision to allow Defendants to sell their products in
11
      the Amazon store because Amazon would not have allowed Defendants to do so but for their
12
      deceptive acts.
13
             59.        In advertising, marketing, offering, and selling counterfeit Dutch Blitz products
14
      in the Amazon store, Defendants made false and misleading statements of fact about the origin,
15
      sponsorship, or approval of those products in violation of 15 U.S.C. § 1125(a)(1)(A).
16
             60.        Defendants’ acts also constitute willful false statements in connection with
17
      goods and/or services distributed in interstate commerce in violation of 15 U.S.C.
18
      § 1125(a)(1)(B).
19
             61.        As described above, Defendants, through their illegal acts, have willfully
20
      deceived Amazon and its customers, jeopardized the trust that customers place in the Amazon
21
      store, tarnished Amazon’s brand and reputation, and harmed Amazon and its customers.
22
      Defendants’ misconduct has also caused Amazon to expend significant resources to investigate
23
      and combat Defendants’ wrongdoing and to bring this lawsuit to prevent Defendants from
24
      causing further harm to Amazon and its customers. Defendants’ illegal acts have caused
25
      irreparable injury to Amazon and, on information and belief, that injury is ongoing at least to
26
      the extent that Defendants continue to establish selling accounts under different or false
27

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 1    identities. An award of monetary damages alone cannot fully compensate Amazon for its

 2    injuries, and thus Amazon lacks an adequate remedy at law.

 3           62.       Amazon is entitled to an injunction against Defendants, their officers, agents,

 4    representatives, servants, employees, successors and assigns, and all other persons in active

 5    concert or participation with them, as set forth in the Prayer for Relief below, along with its

 6    attorneys’ fees and costs in bringing this lawsuit.

 7                                            FOURTH CLAIM
                             (by Dutch Blitz and Amazon against all Defendants)
 8               Violation of Washington Consumer Protection Act, RCW 19.86.010, et seq.
 9           63.       Plaintiffs incorporate by reference the allegations of the preceding paragraphs as

10    though set forth herein.

11           64.       Defendants’ advertising, marketing, offering, and selling of counterfeit Dutch

12    Blitz products constitute an unfair method of competition and unfair and deceptive acts or

13    practices in the conduct of trade or commerce, in violation of RCW 19.86.020.

14           65.       Defendants’ advertising, marketing, offering, and selling of counterfeit Dutch

15    Blitz products harms the public interest by deceiving customers about the authenticity, origins,

16    and sponsorship of the products.

17           66.       Defendants’ advertising, marketing, offering, and selling of counterfeit Dutch

18    Blitz products directly and proximately causes harm to and tarnished Plaintiffs’ reputations and

19    brands, and damages their business and property interests and rights.

20           67.       Accordingly, Plaintiffs seek to enjoin further violations of RCW 19.86.020 and

21    recover their attorneys’ fees and costs. Dutch Blitz further seeks to recover its actual damages,

22    trebled.

23                                     VI.     PRAYER FOR RELIEF
24           WHEREFORE, Plaintiffs respectfully pray for the following relief:

25           A.        That the Court issue an order permanently enjoining Defendants, their officers,

26    agents, representatives, servants, employees, successors, and assigns, and all others in active

27    concert or participation with them, from:

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 1                   (i)     selling products in the Amazon store;

 2                   (ii)    selling products to Amazon or any affiliate;

 3                   (iii)   opening or attempting to open any Amazon Selling Accounts;

 4                   (iv)    manufacturing, distributing, offering to sell, or selling any product using

 5                           Dutch Blitz’s brand, Trademarks, or which otherwise infringes Dutch

 6                           Blitz’s IP, on any platform or in any medium;

 7                   (v)     assisting, aiding or abetting any other person or business entity in

 8                           engaging or performing any of the activities referred to in subparagraphs

 9                           (i) through (iv) above;

10           B.      That the Court enter judgment in Plaintiffs’ favor on all claims brought by them;

11           C.      That the Court enter an order pursuant to 15 U.S.C. § 1116 impounding all

12    counterfeit and infringing products bearing the Dutch Blitz Trademarks or that otherwise

13    infringe Dutch Blitz’s other IP, and any related materials, including business records, in

14    Defendants’ possession or under their control;

15           D.      That the Court enter an order requiring Defendants to provide Plaintiffs a full

16    and complete accounting of all amounts due and owing to Plaintiffs as a result of Defendants’

17    unlawful activities;

18           E.      That Defendants be required to pay all general, special, and actual damages

19    which Dutch Blitz has sustained, or will sustain as a consequence of Defendants’ unlawful acts,

20    together with statutory damages, and that such damages be enhanced, doubled, or trebled as

21    provided for by 15 U.S.C. § 1117(b), RCW 19.86.020, or otherwise allowed by law;

22           F.      That Defendants be required to pay the costs of this action and Plaintiffs’

23    reasonable attorneys’ fees incurred in prosecuting this action, as provided for by 15 U.S.C.

24    § 1117, RCW 19.86.020, or otherwise allowed by law; and

25           G.      That the Court grant Plaintiffs such other, further, and additional relief as the

26    Court deems just and equitable.

27

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 1          DATED this 9th day of February, 2021.

 2                                                  DAVIS WRIGHT TREMAINE LLP
                                                    Attorneys for Plaintiffs
 3

 4                                                  By s/ Scott R. Commerson
                                                    Scott R. Commerson (pro hac vice application
 5                                                  forthcoming)
 6                                                  865 South Figueroa Street, Suite 2400
                                                    Los Angeles, CA 90017-2566
 7                                                  Tel: (213) 633-6800
                                                    Fax: (213) 633-6899
 8                                                  Email: scottcommerson@dwt.com
 9                                                  s/ Sarah E. Cox
                                                    Sarah E. Cox, WSBA #46703
10
                                                    920 Fifth Avenue, Suite 3300
11                                                  Seattle, WA 98104-1604
                                                    Tel: (206) 622-3150
12                                                  Fax: (206) 757-7700
                                                    Email: sarahcox@dwt.com
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